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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 JOHN AND JANE DOES 1-9, et al.,

                Plaintiffs,

        v.                                               Civil Action No. 25-0325 (JMC)

 DEPARTMENT OF JUSTICE,

                Defendant.


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION, et al.,

                Plaintiffs,
                                                         Civil Action No. 25-0328 (JMC)
        v.

 DEPARTMENT OF JUSTICE, et al.,

                Defendants.



                   PLAINTIFFS’ EXPEDITED MOTION TO STAY
             BRIEFING ON THE GOVERNMENT’S MOTION TO DISMISS

       Individual John Doe and Jane Doe Plaintiffs from 1:25-cv-325 and 1:25-cv-328 (“Doe

Plaintiffs”) and the Federal Bureau of Investigation Association (“FBIAA”), collectively,

“Plaintiffs,” respectfully move this court on an expedited basis to stay responsive briefing

deadlines to the Government’s Motion to Dismiss, filed February 26, 2025 (Dkt. 28) (the

“Government’s Motion”) because the Plaintiffs’ Motion for Preliminary Injunction (Dkt. 25)

(“Plaintiffs’ Motion”) presents overlapping, if not identical, issues. Briefing on the Plaintiffs’

Motion is well underway, limited requests for jurisdictional discovery are pending, and a hearing



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is scheduled for March 27, 2025. Principles of judicial economy weigh strongly in favor of holding

the Government’s Motion to Dismiss in abeyance until the Court resolves the Plaintiffs’ request

for injunctive relief.

    I.      Procedural History

         On February 4, 2025, the Plaintiffs filed a Motion for Temporary Restraining Order

(“TRO”) (Dkt. 3). 1 On February 6, 2025, the Government filed its opposition to the TRO, alleging

a lack of standing (Dkt. 11). On February 6, 2025, the Court held a hearing and, the next day,

entered a consensual order. The consensual order restrained the Government from disclosing the

identities of FBI personnel who responded to a February 2, 2025 survey (the “Survey”) – seeking

information on the employees’ involvement in investigation the events of January 6, 2021 –

without advance notice to the Plaintiffs.

         Through the February 7, 2025 consensual order, the Court also entered the parties’ agreed-

upon scheduling order setting briefing deadlines for any request for preliminary injunctive relief.

In accordance with that Order, the Plaintiffs filed their Motion for Preliminary Injunction on

February 24, 2025. A week before filing their Motion, on February 17, 2025, Plaintiffs sought

limited discovery pertaining to the issues encompassed by the Motion. Consistent with the Court’s

February 28, 2025 comments denying the original discovery motion without prejudice, Plaintiffs

have refined their discovery requests to focus principally on the jurisdictional challenges raised by

the Government.

         On February 26, 2025, without notice to the Plaintiffs and as jurisdiction-related discovery

requests were still pending, the Government filed a Rule 12 Motion to Dismiss challenging the




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 For ease of references, docket citations are to 1:25-cv-325-JMC, with which 1:25-cv-328-JMC
has been consolidated.
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Court’s jurisdiction. Principally, the Government revisited its arguments from its February 6, 2025

opposition that this Court lacks jurisdiction because the Plaintiffs cannot show that the harm they

articulate is imminent, and further argue that Plaintiffs’ various statutory and constitutional claims

fail as a matter of law.

    II.      Discussion

          “Resolving a motion to stay or to hold a matter in abeyance pending the outcome of a

related or parallel proceeding turns upon the unique circumstances of the case, and is largely a

matter of discretion for the court.” Khadr v. Bush, 587 F. Supp. 2d 225, 229 (D.D.C. 2008). The

authority to order a stay “is incidental to the power inherent in every court to control the disposition

of the causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”

Drug Reform Coordination Network, Inc. v. Grey House Publ’g, Inc., No. 14-cv-701, 2015 WL

13668667, at *1 (D.D.C. Aug. 5, 2015) (quoting Landis v. North American Co., 299 U.S. 248,

254–55 (1936)).

          A court can grant a motion to stay if it finds that such a stay would be in the interest of

judicial economy and avoid unnecessary litigation. Khadr, 587 F. Supp. 2d at 229 (citing Al–Anazi

v. Bush, 370 F. Supp. 2d 188, 199 (D.D.C. 2005)); P.J.E.S. by & through Francisco v. Mayorkas,

652 F. Supp. 3d 103, 109-10 (D.D.C. 2023) (granting Plaintiffs’ motion to hold motion to dismiss

in abeyance where parallel proceedings would settle relevant matters of fact and law and there

would be no harm to Defendants from a stay).

          As the Court is aware, its ruling on the Plaintiffs’ Motion will resolve the issue of whether

the Plaintiffs have met their burden concerning imminent harm and standing. Indeed, Plaintiffs’

Motion extensively discusses how Plaintiffs believe they adequately allege standing. These

arguments will no doubt be challenged by the Government in their Opposition to Plaintiffs’



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Motion, due to the Court by March 14, 2025. The issues will be further briefed in Plaintiffs’ Reply

to the Government’s Opposition, due to be filed before March 21, 2025. The Government’s Motion

to Dismiss is entirely redundant on the issues of imminence and standing. Likewise, the

Government’s contention that the Plaintiffs have not sufficiently pled facts entitling them to relief

under the First Amendment, the Fifth Amendment, the Privacy Act, and the Administrative

Procedure Act, can be considered by the Court in connection with the Plaintiffs’ Motion, as the

Court will be required to determine whether the Plaintiffs are likely to succeed on the merits of

their aforementioned claims.

   III.      Conclusion

          The parties and the Court should not spend valuable time and resources litigating identical

issues via two different procedural vehicles regurgitating the same facts and arguments. All

challenges raised in the Government’s Motion can be resolved by the Court’s resolution of the

Plaintiffs’ Motion for Preliminary Injunction. The Government suffers no harm when the Court

will be resolving the same challenges in a mutually-agreed upon schedule already entered on the

docket.

          In accordance with Local Rule LCvR 7(m), Plaintiffs consulted with Government counsel

before filing this motion. The Government opposes this request for a stay, but did not provide its

rationale for opposition.



Respectfully Submitted,




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